     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.1 Page 1 of 10



       Joshua B. Swigart, Esq. (SBN: 225557)
 1
       josh@westcoastlitigation.com
 2     Jessica R. K. Dorman, Esq. (SBN: 279919)
       jessica@westcoastlitigation.com
 3
       Hyde & Swigart
 4     2221 Camino Del Rio South, Suite 101
       San Diego, CA 92108
 5
       Telephone: (619) 233-7770
 6     Facsimile: (619) 297-1022
 7
       KAZEROUNI LAW GROUP, APC
 8     Abbas Kazerounian, Esq. (SBN: 249203)
       ak@kazlg.com
 9
       245 Fischer Avenue, Unit D1
10     Costa Mesa, CA 92626
       Telephone: (800) 400-6808
11
       Facsimile: (800) 520-5523
12
       [ADDITIONAL PLAINTIFF’S COUNSEL ON SIGNATURE PAGE]
13
14     Attorneys for Plaintiff
15
16
17                           UNITED STATES DISTRICT COURT
18                          SOUTHERN DISTRICT OF CALIFORNIA
19                                                                      '14CV1776 DMS JMA
          KEVIN HALL individually and on                      Case No: ________________
20        behalf of others similarly situated
                                                              CLASS ACTION
21
                                 Plaintiffs,
22        v.                                                  COMPLAINT FOR DAMAGES
                                                              AND INJUNCTIVE RELIEF
23
          WESTERN DENTAL SERVICES,                            PURSUANT TO THE
24        INC.                                                TELEPHONE CONSUMER
                                                              PROTECTION ACT, 47 U.S.C. §
25
                                 Defendant.                   227, et seq.
26
                                                              JURY TRIAL DEMANDED
27
28

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 1 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.2 Page 2 of 10



 1                                               INTRODUCTION
 2     1.     KEVIN HALL (“Plaintiff”) brings this Class Action Complaint for damages,
 3            injunctive relief, and any other available legal or equitable remedies, resulting
 4            from the illegal actions of WESTERN DENTAL SERVICES, INC.
 5            (“Defendant”), in negligently or intentionally contacting Plaintiff on
 6            Plaintiff’s cellular telephone, in violation of the Telephone Consumer
 7            Protection Act, 47 U.S.C. § 227 et seq., (“TCPA”), thereby invading
 8            Plaintiff’s privacy. Plaintiff alleges as follows upon personal knowledge as to
 9            himself and his own acts and experiences, and, as to all other matters, upon
10            information and belief, including investigation conducted by their attorneys.
11     2.     The TCPA was designed to prevent calls and messages like the ones described
12            within this complaint, and to protect the privacy of citizens like Plaintiff.
13            “Voluminous consumer complaints about abuses of telephone technology –
14            for example, computerized calls dispatched to private homes – prompted
15            Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740,
16            744 (2012).
17     3.     In enacting the TCPA, Congress intended to give consumers a choice as to
18            how creditors and telemarketers may call them, and made specific findings
19            that “[t]echnologies that might allow consumers to avoid receiving such calls
20            are not universally available, are costly, are unlikely to be enforced, or place
21            an inordinate burden on the consumer.                TCPA, Pub.L. No. 102–243, § 11.
22            Toward this end, Congress found that
23
                   [b]anning such automated or prerecorded telephone calls to the
24                 home, except when the receiving party consents to receiving the
                   call or when such calls are necessary in an emergency situation
25
                   affecting the health and safety of the consumer, is the only
26                 effective means of protecting telephone consumers from this
                   nuisance and privacy invasion.
27
28

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 2 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.3 Page 3 of 10



 1           Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012
 2           WL 3292838, at* 4 (N.D.Ill. Aug. 10, 2012) (citing Congressional findings on
 3           TCPA’s purpose).
 4     4.     Congress also specifically found that “the evidence presented to the Congress
 5            indicates that automated or prerecorded calls are a nuisance and an invasion
 6            of privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims,
 7            132 S. Ct. at 744.
 8     5.     As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA
 9            case regarding calls to a non-debtor similar to this one:
10
                   The Telephone Consumer Protection Act … is well known for
11                 its provisions limiting junk-fax transmissions. A less-litigated
                   part of the Act curtails the use of automated dialers and
12
                   prerecorded messages to cell phones, whose subscribers often
13                 are billed by the minute as soon as the call is answered—and
                   routing a call to voicemail counts as answering the call. An
14
                   automated call to a landline phone can be an annoyance; an
15                 automated call to a cell phone adds expense to annoyance.
16           Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).
17                                        JURISDICTION AND VENUE
18     6.     This Court has federal question jurisdiction because this case arises out of
19            violation of federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC,
20            132 S. Ct. 740 (2012).
21     7.     Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
22            Plaintiff resides in the County of San Diego, State of California which is
23            within this judicial district; (ii) the conduct complained of herein (unsolicited
24            autodialed phone calls to Plaintiff’s cellular phone) occurred within this
25            judicial district, as Plaintiff and his phone are located in San Diego,
26            California; and, (iii) Defendant conducted business within this judicial district
27            at all times relevant by calling Plaintiff cell phone, and operating offices
28            within San Diego County.

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 3 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.4 Page 4 of 10



 1                                                   PARTIES
 2     8.     Plaintiff is, and at all times mentioned herein was, a citizen and resident of the
 3            County of San Diego, State of California.                   Plaintiff is, and at all times
 4            mentioned herein was, a “person” as defined by 47 U.S.C. § 153 (39).
 5     9.     Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
 6            at all times mentioned herein was, a corporation whose State of Incorporation
 7            and principal place of business is in the State of Indiana. Defendant, is and at
 8            all times mentioned herein was, a corporation and is a “person,” as defined by
 9            47 U.S.C. § 153 (39).
10     10.    Defendant is a dental service provider who has offices in San Diego County.
11     11.    Plaintiff alleges that at all times relevant herein Defendant conducted business
12            in the State of California and in the County of San Diego, and within this
13            judicial district.
14                                         FACTUAL ALLEGATIONS
15     12.    Beginning in or around the Spring of 2014, Defendant began to utilize
16            Plaintiffs’ cellular telephone number, ending in -0586, to place virtually daily
17            incessant calls to Plaintiffs pertaining to another person whom Plaintiff does
18            not know.
19     13.    Plaintiff did not provide Defendant with his cellular telephone number.
20     14.    During this time, Defendant placed calls on a daily basis, often placing
21            numerous calls a day.
22     15.    The ATDS used by Defendant has the capacity to store or produce telephone
23            numbers to be called, using a random or sequential number generator.
24     16.    The calls Defendant placed to Plaintiffs’ cellular telephone were placed via an
25            “automatic telephone dialing system,” (“ATDS”) as defined by 47 U.S.C. §
26            227 (a)(1) as prohibited by 47 U.S.C. § 227 (b)(1)(A).
27     17.    This ATDS has the capacity to store or produce telephone numbers to be
28            dialed, using a random or sequential number generator.

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 4 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.5 Page 5 of 10



 1     18.    The telephone number that Defendant, or its agents, called was assigned to a
 2            cellular telephone service for which Plaintiffs incur a charge for incoming
 3            calls pursuant to 47 U.S.C. § 227 (b)(1).
 4     19.    These telephone calls constituted calls that were not for emergency purposes
 5            as defined by 47 U.S.C. § 227 (b)(1)(A)(i).
 6     20.    Plaintiffs have never provided any personal information, including their
 7            cellular telephone number to Defendant for any purpose. As such, neither
 8            Defendant nor its agents were provided with prior express consent to place
 9            calls via its ATDS to Plaintiffs’ cellular telephone, pursuant to 47 U.S.C. §
10            227 (b)(1)(A).
11     21.    These telephone calls by Defendant, or its agents, violated 47 U.S.C. § 227(b)
12            (1).
13                                     CLASS ACTION ALLEGATIONS
14     22.    Plaintiff brings this action on behalf of herself and on behalf of all others
15            similarly situated (“the Class”).
16     23.    Plaintiff represents, and is a member of the Class, consisting of:
17
                     All persons within the United States who received any
18                   telephone call/s from Defendant or its agent/s and/or employee/
                     s to said person’s cellular telephone made through the use of
19
                     any automatic telephone dialing system within the four years
20                   prior to the filling of the Complaint.
21     24.    Defendant and its employees or agents are excluded from the Class. Plaintiff
22            does not know the number of members in the Class, but believes the Class
23            members number in the hundreds of thousands, if not more. Thus, this matter
24            should be certified as a Class action to assist in the expeditious litigation of
25            this matter.
26     25.    Plaintiff and members of the Class were harmed by the acts of Defendant in at
27            least the following ways: Defendants, either directly or through its agents,
28            illegally contacted Plaintiff and the Class members via their cellular

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 5 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.6 Page 6 of 10



 1            telephones by using an ATDS, thereby causing Plaintiff and the Class
 2            members to incur certain cellular telephone charges or reduce cellular
 3            telephone time for which Plaintiff and the Class members previously paid,
 4            and invading the privacy of said Plaintiff and the Class members. Plaintiff
 5            and the Class members were damaged thereby.
 6     26.    This suit seeks only damages and injunctive relief for recovery of economic
 7            injury on behalf of the Class, and it expressly is not intended to request any
 8            recovery for personal injury and claims related thereto. Plaintiff reserves the
 9            right to expand the Class definition to seek recovery on behalf of additional
10            persons as warranted as facts are learned in further investigation and
11            discovery.
12     27.    The joinder of the Class members is impractical and the disposition of their
13            claims in the Class action will provide substantial benefits both to the parties
14            and to the court. The Class can be identified through Defendants’ records or
15            Defendants’ agents’ records.
16     28.    There is a well-defined community of interest in the questions of law and fact
17            involved affecting the parties to be represented. The questions of law and fact
18            to the Class predominate over questions which may affect individual Class
19            members, including the following:
20            a) Whether, within the four years prior to the filing of the Complaint,
21                Defendant made any call/s (other than a call made for emergency
22                purposes or made with the prior express consent of the called party) to
23                Class members using any automatic telephone dialing system or an
24                artificial or prerecorded voice to any telephone number assigned to a
25                cellular telephone service.
26            b) Whether Defendant can meet its burden of showing it obtained prior
27                express consent (i.e., consent that is clearly and unmistakably stated);
28            c) Whether Defendant’s conduct was knowing and/or willful;

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 6 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.7 Page 7 of 10



 1            d) Whether Plaintiff and the Class members were damaged thereby, and the
 2                extent of damages for such violation; and
 3            e) Whether Defendants and its agents should be enjoined from engaging in
 4                such conduct in the future.
 5     29.    As a person that received at least one telephonic communication from
 6            Defendant’s ATDS without Plaintiff’s prior express consent, Plaintiff is
 7            asserting claims that are typical of the Class.                   Plaintiff will fairly and
 8            adequately represent and protect the interests of the Class in that Plaintiff has
 9            no interests antagonistic to any member of the Class.
10     30.    Plaintiff and the members of the Class have all suffered irreparable harm as a
11            result of the Defendants’ unlawful and wrongful conduct.                      Absent a class
12            action, the Class will continue to face the potential for irreparable harm. In
13            addition, these violations of law will be allowed to proceed without remedy
14            and Defendants will likely continue such illegal conduct. Because of the size
15            of the individual Class member’s claims, few, if any, Class members could
16            afford to seek legal redress for the wrongs complained of herein.
17     31.    Plaintiff has retained counsel experienced in handling class action claims and
18            claims involving violations of the Telephone Consumer Protection Act.
19     32.    A class action is a superior method for the fair and efficient adjudication of
20            this controversy. Class-wide damages are essential to induce Defendants to
21            comply with federal and California law. The interest of Class members in
22            individually controlling the prosecution of separate claims against Defendants
23            is small because the maximum statutory damages in an individual action for
24            violation of privacy are minimal. Management of these claims is likely to
25            present significantly fewer difficulties than those presented in many class
26            claims.
27
28

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 7 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.8 Page 8 of 10



 1     33.    Defendant has acted on grounds generally applicable to the Class, thereby
 2            making appropriate final injunctive relief and corresponding declaratory relief
 3            with respect to the Class as a whole.
 4                                                   COUNT I
 5                                   NEGLIGENT VIOLATIONS OF THE
 6                        TELEPHONE CONSUMER PROTECTION ACT (TCPA)
 7                                                47 U.S.C. 227
 8     34.    Plaintiff incorporates by reference all of the above paragraphs of this
 9            Complaint as though fully stated herein.
10     35.    The foregoing acts and omissions of Defendant constitutes numerous and
11            multiple negligent violations of the TCPA, including but not limited to each
12            and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.
13     36.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq,
14            Plaintiff and The Class are entitled to an award of $500.00 in statutory
15            damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
16     37.    Plaintiff and the Class are also entitled to and seek injunctive relief
17            prohibiting such conduct in the future.
18                                                   COUNT II
19                                 KNOWING AND/OR WILLFUL OF THE
20                        TELEPHONE CONSUMER PROTECTION ACT (TCPA)
21                                                47 U.S.C. 227
22     38.    Plaintiff incorporates by reference all of the above paragraphs of this
23            Complaint as though fully stated herein.
24     39.    The foregoing acts and omissions of Defendant constitutes numerous and
25            multiple knowing and/or willful violations of the TCPA, including but not
26            limited to each and every one of the above-cited provisions of 47 U.S.C. §
27            227 et seq.
28

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 8 of 10 -
     Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.9 Page 9 of 10



 1     40.    As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
 2            227 et seq, Plaintiff and The Class are entitled to an award of $1,500.00 in
 3            statutory damages, for each and every violation, pursuant to 47 U.S.C. §
 4            227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 5     41.    Plaintiff and the Class are also entitled to and seek injunctive relief
 6            prohibiting such conduct in the future.
 7                                           PRAYER FOR RELIEF
 8     WHEREFORE, Plaintiff and The Class Members pray for judgment as follows:
 9            •      Certifying the Class as requested herein;
10            •      Providing such further relief as may be just and proper.
11
12     In addition, Plaintiff and The Class Members pray for further judgment as follows:
13                              COUNT I FOR NEGLIGENT VIOLATIONS OF
14                                 THE (TCPA), 47 U.S.C. 227 ET. SEQ.
15            •      As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1),
16                   Plaintiff seeks for himself and each Class member $500.00 in statutory
17                   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)
18                   (3)(B).
19            •      Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
20                   conduct in the future.
21            •      Any other relief the Court may deem just and proper.
22                        COUNT II FOR KNOWING/WILLFUL VIOLATION OF
23                                 THE (TCPA), 47 U.S.C. 227 ET. SEQ.
24            •      As a result of Defendant’s knowing and/or willful violations of 47
25                   U.S.C. § 227(b)(1), Plaintiff seeks for himself and each Class member
26                   $1,500.00 in statutory damages, for each and every violation, pursuant
27                   to 47 U.S.C. § 227(b)(3)(B).
28

        ______________________________________________________________________________________________________
       CLASS ACTION COMPLAINT                          - 9 of 10 -
 Case 3:14-cv-01776-DMS-JMA Document 1 Filed 07/28/14 PageID.10 Page 10 of 10



 1          •      Pursuant to 47 U.S.C. § 227(b)(3)(A), injunctive relief prohibiting such
 2                 conduct in the future.
 3          •      Any other relief the Court may deem just and proper.
 4                                             TRIAL BY JURY
 5   42.    Pursuant to the seventh amendment to the Constitution of the United States of
 6          America, Plaintiff is entitled to, and demands, a trial by jury.
 7
 8   Respectfully submitted,
                                                            Hyde & Swigart
 9
10
     Date: July 28, 2014                               By: /s/Joshua B. Swigart
11
                                                           Joshua B. Swigart
12                                                         Attorneys for Plaintiff
13
     [ADDITIONAL PLAINTIFF’S COUNSEL]
14
15
     ADDITIONAL COUNSEL FOR PLAINTIFF
16
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
17
     Todd M. Friedman, Esq. (SBN: 216752)
18   tfriedman@attorneysforconsumers.com
     369 S. Doheny Dr., #415
19
     Beverly Hills, CA 90211
20   Telephone: (877) 206-4741
     Facsimile: (866) 633-0228
21
22
23
24
25
26
27
28

      ______________________________________________________________________________________________________
     CLASS ACTION COMPLAINT                         - 10 of 10 -
